Case: 2:17-cv-00720-EAS-EPD Doc #: 55-5 Filed: 02/22/19 Page: 1 of 9 PAGEID #: 1080




                         EXHIBIT E
Case: 2:17-cv-00720-EAS-EPD Doc #: 55-5 Filed: 02/22/19 Page: 2 of 9 PAGEID #: 1081
Case: 2:17-cv-00720-EAS-EPD Doc #: 55-5 Filed: 02/22/19 Page: 3 of 9 PAGEID #: 1082
Case: 2:17-cv-00720-EAS-EPD Doc #: 55-5 Filed: 02/22/19 Page: 4 of 9 PAGEID #: 1083
Case: 2:17-cv-00720-EAS-EPD Doc #: 55-5 Filed: 02/22/19 Page: 5 of 9 PAGEID #: 1084
Case: 2:17-cv-00720-EAS-EPD Doc #: 55-5 Filed: 02/22/19 Page: 6 of 9 PAGEID #: 1085
Case: 2:17-cv-00720-EAS-EPD Doc #: 55-5 Filed: 02/22/19 Page: 7 of 9 PAGEID #: 1086
Case: 2:17-cv-00720-EAS-EPD Doc #: 55-5 Filed: 02/22/19 Page: 8 of 9 PAGEID #: 1087
Case: 2:17-cv-00720-EAS-EPD Doc #: 55-5 Filed: 02/22/19 Page: 9 of 9 PAGEID #: 1088
